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                                          June 9, 2019

   Honorable Norman Moon
   Judge
   United States District Court
   Charlottesville, Virginia

   Dear Judge Moon,

          I am writing on behalf of Benjamin Daley. Ben is my brother and I have known
   him since I was born, twenty four years ago.

          I know that Ben is charged with a serious offense but I would like to give you
   some additional information about Ben for your consideration. My brother is intelligent
   and motivated; Ben excels at anything he puts his mind to. From elementary to high
   school, Ben was a talented competitive swimmer, and he placed at state and national
   championships.

   Ben is big-hearted and truly cares for his family and friends. We both were raised in a
   loving, supportive, two-parent household that lives by strong morals. Our family is tight-
   knit and wholesome. Raised as Catholics, we went to church weekly with our parents,
   and Ben served as an altar boy for years. We have annual reunions where my brother
   and I would happily spend a week with our cousins, aunts, uncles, and grandma.

   In addition to his immediate family, Ben has dozens of family members and friends who
   are all praying for him, and willing to support however they can to help him move on from
   past mistakes and grow into the positive, productive member of society we all know he is
   fully capable of being.

          Thank you for your consideration.

                                         Sincerely,


                                         Allison Daley

                                         Allison Daley

                                         Portland, OR 97210
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J   une 5,2019



Honorable Norman Moon
J   udge
U   nited States District Court
Charlottesville, Virginia


Dear Judge Moon,

My husband and I are writing on behalf of Benjamin Drake Daley. Defendant is our nephew; Carol has
known him since his birth and Peter for 9 years. Weunderstandtheseriousnessofthecharges.

Since he moved to Los Angeles in 2010, we saw him monthly for dinners and since 2017 Carol met him
weekly for breakfast. During that time we saw Ben build up his tree trimming business with diligence,
patience, excellent customer service and hard work. He made an extra effort to employ people who had
difficulties in their lives. Carol worked with him to create an emplovee code of conduct to maximize
customer satisfaction and efficiency on job site,

In June 2014, Ben was stabbed by a roommate whom he had tried to help by providing him a place to
stay and a job at Ben's business. Ben almost died on arrival at the hospital and spent two weeks waiting
for the tube to be removed from his lung before they could release him. Following that incident we saw
a clear change in Ben's behavior. One of his primary goals became to learn how to defend himself. He
told Carol at one of their breakfast's that he was struggling with fact that he hesitated when being
attacked and he was reliving the incident and clearly haunted by it.

He then told us how he was joining a group of young men to strengthen his mind and body. somewhere
in this process he toke a very wrong turn.

We believe he has an addictive personality and invests his whole being in his current undertakings
whatever they might be. Nonetheless, we have watched him give up both smoking and alcohol and
grow as a person while developing his own business. We see he has the ability to change and we hope
and believe if given the opportunity he wil                  substantial mistakes.




Carol Busch & Peter Goldberg


Ma n hatta n Beach, CA 90266
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July 12, 2019




Honorable Norman Moon
Judge
United States District Court
Charlottesville, Virginia


Dear Judge Moon,


I am writing on Behalf of Benjamin Drake Daley. Ben is my nephew and I have lived in the same town
with Ben and his family since Ben was an infant.

I know that Ben is charged with a serious offense but I would like to give you a window into Ben as a
person, a human soul, a young confused boy trying to become a man….. All for your consideration.

I watched Ben grow up. He was curious about everything… He had and still has a soft soul. He is a
generous person who deeply cares about others. So much that he might sacrifice himself . He a witty
and funny and observant and stubborn. He is unfortunately influenced by others at times. Which is a
trait that can be so wonderful and so vulnerable. Ben is hard working and likes hard work. He is a life
learner and will pour himself into something. He has so much to offer this society in a positive light if
he is given that chance.

He comes from a large loyal family. We are all here for him when he is ready for us. We will all be here
to support and help him. We all have missed Ben these last years. And we look forward to the day he
can come back to his family. There has been great pain and suffering among so many people. This
family has also suffered deeply. May the healing begin.. For all involved.



Thank you for your consideration.



Sincerely,

Mary Steinhauff
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      June 4th, 2019


      Honorable Norman Moon
      Judge
      United States District Court
      Charlottesville, Virginia

      Dear Judge Moon,

             I am writing on behalf of BEN DALEY. Defendant is my former work mate and I
      have known him for about 5 years.

               I know that Defendant is charged with a serious offense, and I would like to give
      you some additional information about the Defendant for your consideration. Mr. Daley
      was a very hard working tree trimmer who has always shown respect and courtesy to
      our clients and showed honesty and integrity in dealing with fellow workmates. He was
      very safety conscious and we had very good lunch discussions about his furthering his
      education to become a better entrepreneur. I think he was negatively influenced and
      feel that he was ready to make changes for the better. I think he has a good heart and I
      see so much love in his spirit.

              Thank you for your consideration.

                                              Sincerely,

                                              Mike Garcia
                                                                 Redondo Beach, CA 90278
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